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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISIN



JOAN SMITH,

Plaintiff,


vs.                                            Case No.: 5:11-cv-48-Oc-10KRS
ALLIANCE ONE RECEIVABLES
MANAGEMENT, INC.,

Defendant.
_______________________________/


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



Dated: June 10, 2011                          Respectfully submitted,


                                              /s Andrew I. Glenn
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